1    LAW OFFICE OF RESHMA KAMATH
     Reshma Kamath, Cal. Bar No. 333800
2
     700 El Camino Real, Suite 120, #1084,
3    Menlo Park, California 94025, United States
4    Phone-number: 650 257 0719
     E-mail address: reshmakamath2021@gmail.com
5
     COUNSEL FOR DEFENDANTS
6
     RUIFENG BIZTECH INC.; GANGYOU WANG;
7    ALAN LI; AND, RF BIOTECH LLC.
8

9
                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
10                         SAN FRANCISCO DIVISION
11                                     Case No.: 3:20-cv-04808-WHA
     QUINTARA BIOSCIENCES, INC.,
12   a California corporation,         [Assigned to presiding Judge Honorable
13                                     William Alsup]
                Plaintiffs,
14
                                       RESHMA KAMATH’S NOTICE OF
15              v.                     LAWSUIT
16   RUIFENG BIZTECH INC., a
17   California corporation, GANGYOU
     WANG, an individual, ALEX
18   WONG, an individual, ALAN LI,
19   an individual, RUI SHAO, an
     individual, and RF BIOTECH LLC,
20   a California limited liability
21   company,
22              Defendants.
23

24

25

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27
         TO THE HONORABLE COURT, ALL PARTIES, AND ATTORNEYS OF
28
     RECORD, HEREIN:
                                          1                 Case No. 3:20-cv-04808-WHA
                                  NOTICE OF LAWSUIT
1            PLEASE TAKE NOTICE the attached lawsuit is about to be filed shortly.

2

3                                               LAW OFFICE OF RESHMA KAMATH
4

5
     DATED: September 24, 2023                           /S/ Reshma Kamath
                                                 Reshma Kamath,
6
                                                 Counsel for Defendants RUIFENG BIZTECH
7                                                INC.; GANGYOU WANG; ALAN LI; and, RF
                                                 BIOTECH LLC
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                                                     2              Case No. 3:20-cv-04808-WHA
                                              NOTICE OF LAWSUIT
     Error! Unknown document property name.
1                                 CERTIFICATE OF SERVICE
           F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260.
2

3           I am employed in, the County of San Mateo, California. I am over the age of 18,
     and not a party to this action. My business/mailing address is: 700 El Camino Real, Suite
4    120, #1084, Menlo Park, California 94025, United States; and, e-mail address is
5    reshmakamath2021@gmail.com for electronic-service. On September 24, 2023, I sent
     the following documents via the below method of service. SEE ATTACHED SERVICE
6    LIST.
7    ///
     RESHMA KAMATH’S NOTICE OF LAWSUIT
8    ///
9    RESHMA KAMATH'S NOTICE OF LAWSUIT AGAINST JUDGE WILLIAM
     ALSUP, THOMAS HIXSON, JAMES LI, DYLAN WISEMAN, BUCHALTER,
10
     AND DOES 1-10, INCLUSIVE
11   ///
     CERTIFICATE OF SERVICE.
12
     ///
13          Via ELECTRONIC SERVICE: In electronically transmitting courtesy copies of
     the document(s) listed above to the email address(es) of the person(s) set forth on the
14
     attached service list per the electronic service agreement between the parties’ counsel.
15   To my knowledge, the transmission was reported as complete and without error. [Notice
     of Electronic-Service pursuant to California Code of Civil Procedure § 1010.6.]
16
     ///
17          I declare under penalty of perjury of the laws of the State of California, and the
     laws of the United States of America that the foregoing is true and correct. Executed on
18
     September 24, 2023.
19
                                                                  Sincerely,
20

21                                                          /S/ Reshma Kamath
                                                            Reshma Kamath
22

23

24

25

26

27

28
                                                     3                    Case No. 3:20-cv-04808-WHA
                                              NOTICE OF LAWSUIT
     Error! Unknown document property name.
1    SERVICE LIST

2    Daniel Robert Peterson
3    E-mail: petersond@lilaw.us
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     ATTORNEYS FOR PLAINTIFF QUINTARA BIOSCIENCES, INC.
13
     Ting Jiang, LiLaw, Inc./Quintara’s Legal assistant
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15
     Dylan Wiseman/Buchalter APC
16
     E-mail: dwiseman@buchalter.com
17
     FORMER ATTORNEY FOR DEFENDANTS
18

19

20

21

22

23

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25

26

27

28
                                                     4            Case No. 3:20-cv-04808-WHA
                                              NOTICE OF LAWSUIT
     Error! Unknown document property name.
     RESHMA KAMATH, PLAINTIFF
1
     700 El Camino Real, Suite 120, #1084,
2    Menlo Park, California 94025, United States
     Ph.: 650 257 0719, E.: reshmakamath2021@gmail.com
3    in propria persona
4                               UNITED STATES DISTRICT COURT
5
                                    DISTRICT OF ARIZONA

6
     RESHMA KAMATH,                                  Case No.: ___________________ [TBA]
7
     Plaintiff,                                      COMPLAINT FOR:
8

9
     v.                                              1. INJUNCTIVE RELIEF;
                                                     2. DEFAMATION – SLANDER;
10   WILLIAM ALSUP; THOMAS HIXSON;                   3. RACIAL DISCRIMINATION UNDER 42
     JAMES LI; DYLAN WISEMAN;                        U.S.C. SECTION 1983;
11   BUCHALTER, APC; AND, DOES 1-10,                 4. GENDER DISCRIMINATION UNDER 42
     INCLUSIVE,                                      U.S.C. SECTION 1983;
12
                                                     5. DECLARATORY RELIEF; AND,
13   Defendants.                                     6. DEFAMATION – LIBEL;

14                                                        DEMAND FOR JURY TRIAL

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                                                 1
                                               COMPLAINT
1

2                                            INTRODUCTION

3           1.      RESHMA KAMATH, [herein, “PLAINTIFF” and/or “PLAINTIFF RESHMA
4    KAMATH”], who WON her first JURY TRIAL with an EIGHT-PERSON UNANIMOUS JURY
5
     VERDICT, has SUED DEFENDANT WILLIAM ALSUP; DEFENDANT THOMAS HIXSON;
6
     OPPOSING ATTORNEY, JAMES LI; FORMER ATTORNEY, DYLAN WISEMAN; AND,
7
     BUCHALTER. [collectively, herein, DEFENDANTS] for RACIAL MISOGYNY in them displaying:
8

9
     (i) ANTI-INDIAN sentiments;

10   (ii) HINDU PHOBIA; and,

11   (iii) ANTI-IMMIGRANT sentiments towards INDIAN WOMAN, solitarily, inter alia.
12
            It is completely possible, and plausible that individuals, who have worked hard in favor of
13
     certain racial, and/or ethnic groups, such as African-Americans and Native-Americans, such as
14
     DEFENDANT WILLIAM ALSUP harbor negative sentiments against other racial and/or ethnic
15
     groups, such as Indians, Middle-Easterners, and related; and, particularly, to immigrant women from
16

17   such racial, and/or ethnic groups.

18          2.      Particularly, DEFENDANT WILLIAM ALSUP for bringing his JIM CROW

19   SEGREGATIONIST/WHITE HOMOGENOUS notions against PLAINTIFF KAMATH; as well as,
20
     JUDGE THOMAS HIXSON together with JUDGE WILLIAM ALSUP bringing their hillbilly WHITE
21
     AMERICA sentiments in using law as a PRE-TEXT to promote DISCRIMINATION against newer
22
     minorities, INDIANS/INDIAN-AMERICANS, in the history of the UNITED STATES OF
23
     AMERICA.
24

25          2.A.    Whether and/or not, DEFENDANTS withdraw any motions they filed, any orders,

26   and/or deem any moot/ without jurisdiction, this COMPLAINT holds muster and merit based on the
27   incidents that have occurred herein.
28
     ///

                                                     2
                                                   PARTIES
1

2    3.     RESHMA KAMATH is a lawyer licensed in the STATE OF CALIFORNIA. For the past

3    three years, RESHMA KAMATH has resided in the STATE OF ARIZONA in the COUNTY OF
4    MOHAVE, ARIZONA.
5
     4.     RESHMA KAMATH operates with a mail-box address in MENLO PARK, CALIFORNIA
6
     for her work as a lawyer in CALIFORNIA.
7
     5.     DEFENDANT WILLIAM ALSUP is an Article III standing judicial officer in the STATE OF
8

9
     CALIFORNIA who is around seventy-two years of age. Per information and belief, DEFENDANT

10   WILLIAM ALSUP was raised in a monotheistic Christian religion, and does not speak any other

11   languages fluently except English. It is unclear whether he has ever lived in any other country, except
12
     the United States of America.
13
     6.     DEFENDANT THOMAS HIXSON is a magistrate judicial officer in the STATE OF
14
     CALIFORNIA.
15
     7.     DEFENDANT JAMES LI is an attorney in SAN JOSE, CALIFORNIA.
16

17   8.     DEFENDANT DYLAN WISEMAN is an attorney in CALIFORNIA.

18   9.     DEFENDANT BUCHALTER is a law firm, where DEFENDANT WISEMAN is hired as an

19   attorney.
20
     10.    PLAINTIFF presently remains unaware of the true names or capacities of Defendants named
21
     herein as DOES 1-10, inclusive, and PLAINTIFF will seek leave of Court to allege their true names
22
     and capacities after the same have been ascertained.
23
     11.    DEFENDANTS DOES 1-10, inclusive, are sued under fictitious names. PLAINTIFF is
24

25   informed and believes, and on that basis alleges, that each of the defendants sued under fictitious

26   names is in some manner responsible for the wrongs and damages alleged below, in so acting was
27   functioning as the agent, servant, partner, and employee of the co-defendants, and in taking the
28
     actions mentioned below was acting within the course and scope of his or her authority as such agent,

                                                        3
     servant, partner, and employee, with the permission and consent of the co-defendants. The named
1

2    defendants and DOE defendants are sometimes hereafter referred to, collectively and/or individually,

3    as “defendants.”
4    12.    PLAINTIFF remains informed and believes and thereon alleges that each of the Defendants
5
     herein, and are in some manner legally responsible for the acts and omissions alleged herein and
6
     actually and legally caused and contributed to various injuries and damages alleged herein.
7
     PLAINTIFF remains informed and believes and thereon alleges that at all times herein mentioned,
8

9
     each of the Defendants was the agent, servant, partner, joint venturer, and/or employee of each of the

10   other Cross-Defendants, and in doing the things hereinafter alleged, were acting within the course

11   and scope of said agency and/or employment, and with the permission.
12
     13.    ANY AND ALL DEFENDANTS were responsible for the events and damages alleged
13
     herein, including on the following bases: (a) defendants committed the acts alleged; (b) at all relevant
14
     times, one or more of the defendants was the agent or employee, and/or acted under the control or
15
     supervision, of one or more of the remaining cross-defendants and, in committing the acts alleged,
16

17   acted within the course and scope of such agency and employment and/or is or are otherwise liable

18   for Plaintiff’s damages; (c) at all relevant times, there existed a unity of ownership and interest

19   between or among two or more of the defendants such that any individuality and separateness
20
     between or among those defendants has ceased, and defendants are the alter egos of one another.
21
     14.    Defendants exercised domination and control over one another to such an extent that any
22
     individuality or separateness of defendants does not, and at all times herein mentioned did not, exist.
23
     Adherence to the fiction of the separate existence of defendants would permit abuse of the corporate
24

25   privilege and would sanction fraud and promote injustice.

26   15.    All actions of all defendants were taken by employees, supervisors, executives, officers, and
27   directors during employment with all defendants, were taken on behalf of all defendants, and were
28
     engaged in, authorized, ratified, and approved of by all other defendants.

                                                         4
     16.     Finally, at all relevant times mentioned herein, all defendants acted as agents of all other
1

2    defendants in committing the acts alleged herein.

3                                          FACTUAL BACKGROUND
4    17.     RESHMA KAMATH had not made any references to INDIA, her ethnic, and/or racial
5
     background in any part of the case for which she was retained, and/or prior to undersigned date where
6
     RESHMA KAMATH put a NOTICE OF LAWSUIT to DEFENDANTS. PLAINTIFF RESHMA
7
     KAMATH did not forget this fact, because nothing about the lawsuit had anything to do with
8

9
     “INDIA” as DEFENDANT ALSUP had stated.

10   18.     In May 1999, RESHMA KAMATH moved to the UNITED STATES OF AMERICA from

11   INDIA at the age of fourteen years.
12
     19.     In India, RESHMA KAMATH placed the top of her class having studied in a top-rated
13
     convent girl’s school.
14
     20.     In India, RESHMA KAMATH was part of her volleyball and table-tennis team even
15
     captaining it.
16

17   21.     In India, RESHMA KAMATH won many awards for her education as well as extra-curricular

18   activities. In India, RESHMA KAMATH helped handicapped and disabled individuals, and had

19   participated in tree-planting initiatives.
20
     22.     After moving to the United States, RESHMA KAMATH continued to excel in her school
21
     work and sports. RESHMA KAMATH was part of JUNIOR VARSITY and VARSITY high-school
22
     sports, such as tennis and badminton. RESHMA KAMATH has also practiced martial arts, and kick-
23
     boxing. All in all, RESHMA KAMATH is highly professional, global, and has made people from
24

25   literally all walks of life on a personal front without any sheltered life.

26   23.     Graduating SUMMA CUM LAUDE with a dual degree in psychology and global studies, as
27   well as studying abroad for one year in post-apartheid SOUTH AFRICA in 2007, RESHMA
28
     KAMATH studied family law, international law, corporate law and isiZULU. This was part of a

                                                          5
     GOLDEN KEY INTERNATIONAL HONOR SOCIETY scholarship, as well as other scholarships
1

2    that RESHMA KAMATH had won during her collegiate years.

3    24.    While in college, RESHMA KAMATH was part of AMERICORPS working for Chinese and
4    Vietnamese immigrants/senior citizens, as well as diversity initiatives as advocate for
5
     ASIAN/ASIAN PACIFIC ISLANDER groups on campus.
6
     24.    RESHMA KAMATH was part of the residential life programs, and participated in Indian
7
     cultural dance, debate and volunteer activities on campus.
8

9
     RESHMA KAMATH was even chosen as a STUDENT LEADER to go to MEXICO to participate in

10   an LOS NINOS program helping local women build sustainable initiatives.

11   25.    These paragraphs are downplaying the effort, the number of activities, work and studying that
12
     RESHMA KAMATH did.
13
     26.    RESHMA KAMATH moved to SOUTH KOREA – supposedly for one year to teach English,
14
     and thereafter, being interested in human rights and international development [having contemplated
15
     Peace Corps] joined the best university in SOUTH KOREA called SEOUL NATIONAL
16

17   UNIVERSITY for a graduate degree in International Studies with International Co-operation. There

18   too RESHMA KAMATH won several awards, participated in a plethora of activities, and graduated

19   HIGH HONORS.
20
     27.    RESHMA KAMATH was also selected to be a part of an environmental initiative to attend a
21
     graduate-program in CAMBODIA, as well as selected graduate leaders in JAPAN.
22
     28.    After attending law school, which was quite reflecting of the legal profession and California
23
     courts, RESHMA KAMATH who always wanted to become a lawyer finally decided to pursue her
24

25   endeavors and get licensed.

26   29.    In January-March 2021, RESHMA KAMATH became a lawyer licensed in the STATE OF
27   CALIFORNIA.
28


                                                        6
     30.    In 2021, RESHMA KAMATH took her OATH and was SWORN in as a lawyer in YUMA,
1

2    ARIZONA. RESHMA KAMATH had also taken her STATE BAR EXAM while she was residing in

3    YUMA, ARIZONA.
4    31.    In 2021, RESHMA KAMATH decided to be a sole proprietor and thereafter, worked under
5
     d/b/a LAW OFFICE OF RESHMA KAMATH.
6
     32.    In 2021, RESHMA KAMATH was retained in a case where the above-named
7
     DEFENDANTS were participants.
8

9
     33.    In 2023, RESHMA KAMATH appeared for the JURY TRIAL, and won a UNANIMOUS

10   JURY VERDICT in an eight-person jury comprised of three African-American jury members, and

11   seven women jurors who saw through the façade of the opposing attorney, DEFENDANT JAMES
12
     LI, while the jury made an evidentiary decision about the case in favor of clients of PLAINTIFF
13
     RESHMA KAMATH.
14
     DEFENDANT WILLIAM ALSUP
15
     34.    In 2021, there was a telephonic-call with DEFENDANT WILLIAM ALSUP. There he
16

17   threatened RESHMA KAMATH repeatedly, and that he would report her to the STATE BAR. It was

18   quite disturbing, because there was no basis for it.

19   35.    In 2023, at the final pre-trial hearing, DEFENDANT WILLIAM ALSUP made a comment
20
     about “INDIA.”
21
     36.    Nothing on- and off-the-record had anything to do with “INDIA.” The comment came out of
22
     nowhere. Nothing in the entire court docket, and/or conversations had a thing to do with “INDIA.”
23
     37.    In 2023, after the final pre-trial hearing, while DEFENDANT ALSUP was walking into his
24

25   chambers, DEFENDANT WILLIAM ALSUP looked at Plaintiff RESHMA KAMATH while she

26   was getting water from a dispenser placed in the middle of the room, and looked at her backside
27   making a disgusted facial expression.
28


                                                            7
     38.     In 2023, at the trial, in the presence of DEFENDANT WILLIAM ALSUP, Plaintiff RESHMA
1

2    KAMATH was assaulted where an interpreter touched her shoulder/neck area in a massaging motion,

3    and then touched her buttock area with his hand. This was without RESHMA KAMATH’s consent,
4    and the interpreter had no friendly relationship with RESHMA KAMATH whatsoever.
5
     39.     In fact, during several trial practice and coaching session, the interpreter was demeaning and
6
     condescending to RESHMA KAMATH. Moreover, RESHMA KAMATH does not like any
7
     unknown stranger male touching of her body.
8

9
     40.     In 2023, at the trial, DEFENDANT WILLIAM ALSUP took no action. He may have even

10   ignored it.

11   41.     In 2023, at the trial, DEFENDANT WILLIAM ALSUP always was eager to protect the
12
     opposing white female attorney in the courtroom while walking to and from the podium to the table.
13
     42.     That kind of courtesy and protective behavior was not afforded to Plaintiff RESHMA
14
     KAMATH.
15
     43.     In 2023, at the trial, and thereafter, DEFENDANT WILLIAM ALSUP often made comments
16

17   to his clerk, staff and to other judges about “fat” “kid” “young” “unprofessional” “dangerous” and

18   related when referring to Plaintiff RESHMA KAMATH.

19   44.     In 2023, DEFENDANT WILLIAM ALSUP’s IT technician made a comment, “Are you
20
     ready?” to Plaintiff RESHMA KAMATH when referring to a VGI cable after the trial had ended that
21
     day.
22
     45.     Plaintiff RESHMA KAMATH has to deal with all these MICRO-AGGRESSIONS and even
23
     with this WIN a JURY TRIAL in the best interests of her clients.
24

25   46.     Now, DEFENDANT WILLIAM ALSUP is considering JAIL-TIME, and placing Plaintiff

26   RESHMA KAMATH on a no-fly zone based on his racial misogynistic abuse.
27   It is undisputed that DEFENDANT WILLIAM ALSUP did not grow up with Indians in his STATE
28
     OF MISSISSIPPI upbringing in Jim Crow segregationist laws.

                                                        8
     47.    It is undisputed that DEFENDANT WILLIAM ALSUP barely has had any interaction with
1

2    Indians in his entire lifetime of seventy-two years.

3    48.    DEFENDANT WILLIAM ALSUP, is typical of white male homogeneity, that have one
4    and/or two people of an ethnic background/race hired in a subservient role, and/or in a limited non-
5
     friendly role, then claim they’re not racist, and/or discriminatory because of that limited to minimal
6
     interaction.
7
     49.    This is no different that Jim Crow segregationist America where women of color were often
8

9
     in subservient roles.

10   50.    DEFENDANT WILLIAM ALSUP may have touted his own horn in his book, “Won Over.”

11   It is unclear how much of the stories in the book are true, and how much of it is fictitious. It could
12
     have been a ploy to get into Harvard, and/or become a judge.
13
     51.    Just because DEFENDANT WILLIAM ALSUP knew how to robotically place answers on a
14
     scantron does not mean he knows how to deal with issues in the year 2023, with immigrant women
15
     from India, how to read members of the Asian/Asian-American community, women of color from
16

17   Asian and Indian backgrounds, what Indian women have to undergo both within their Indian

18   communities, and outside with White/non-White America.

19   52.    Just because DEFENDANT WILLIAM ALSUP helped an African-American male member
20
     does not mean he knows how to extend that to women of color from different racial and ethnic
21
     backgrounds.
22
     53.    Moreover, the two Indians that DEFENDANT WILLIAM ALSUP may boast of [Bhavna
23
     Sharma/Vince Chhabria] are both from North-Indian communities in India – from West Eurasian
24

25   backgrounds. Often such cultures support white/light-skinned notions such as fairness ads and

26   bleaches.
27   54.    Plaintiff RESHMA KAMATH is South Indian. Particularly, PLAINTIFF RESHMA
28
     KAMATH, who is a non-beef-eating, SOUTH INDIAN immigrant woman, fluent in more than five

                                                            9
     languages, who is the only counsel in her law firm, and according to White America, Hindu
1

2    individuals maybe seen as poly-theistic [even when it is mono-theistic ].

3    55.    DEFENDANT WILLIAM ALSUP is now contemplating jail time for Plaintiff KAMATH,
4    and placing her on a no-fly zone. DEFENDANT WILLIAM ALSUP is not doing this to
5
     DEFENDANT JAMES LI while he is flying overseas for his personal reasons.
6
     56.    Moreover, DEFENDANT WILLIAM ALSUP is contemplating increasing the sanctions of
7
     DEFENDANT HIXSON that went from a “potential $100” to over “$5,000” to over hundreds of
8

9
     thousands of dollars. All this based on DEFENDANT JAMES LI’s insistence.

10   57.    DEFENDANT WILLIAM ALSUP may have granted many a motions/requests of women of

11   color/immigrants – however, all in the purview of white and/or male attorneys and law firms. For
12
     example, DEFENDANT WILLIAM ALSUP may tout his own horn that he granted some summary
13
     judgment motion of an African-American female lawyer. The question becomes did he award her any
14
     money, and/or did he do this when she was a sole proprietor. No.
15
     58.    DEFENDANT WILLIAM ALSUP has not granted attorneys’ fees to any immigrant woman
16

17   of color sole proprietor who had won the jury trial, and a motion for attorneys’ fees was timely made.

18   This shows racial and misogynistic abuse that judicial immunity does not protect.

19   59.    That kind of crippling of monetary wealth, and making wealth-based, monetary decisions
20
     only on the basis of skin color, racial/ethnic background, heritage, immigrant status, and related are
21
     not protected under judicial immunity and constitutional protections of the Eleventh Amendment.
22
     Judges should not be allowed to do whatever they want as judges to continue their on-going abuses to
23
     lone women. For example, ANITA HILL, a lone African-American woman was abused by a group of
24

25   men, including our now President Joe Biden. This is now on-going to newer minorities in the United

26   States of America for Indians.
27   60.    DEFENDANT WILLIAM ALSUP blindly awarded his entire attorneys’ fees in further
28
     promotion of racial and misogynistic abuse.

                                                        10
     61.     DEFENDANT WILLIAM ALSUP is using LAW AS A PRE-TEXT for RACIAL AND
1

2    MISOGYNISTIC ABUSE continuing the same INVIDUOUS and SYSTEMIC RACISM AND

3    DISCRIMINATION that he sought to allegedly prevent in his youthful years.
4    62.     DEFENDANT WILLIAM ALSUP has become the perpetrator that he purportedly stood up
5
     against in his Mississippi years.
6
     63.     That Southern racism has creeped up and never left DEFENDANT WILLIAM ALSUP, who
7
     is not only a white male privileged individual whom no one bothers and everyone treats with utmost
8

9
     respect and concern, but he also comes from allegedly a household where his parents where non-

10   divorced, he did not undergo any racial, physical, sexual abuse, and/or violence in any context of his

11   life.
12
     64.     DEFENDANT WILLIAM ALSUP is part of that white, male homogenous culture that
13
     individuals and lawyers such as PLAINTIFF RESHMA KAMATH are forced to appear before, and
14
     deal with each day to advocate for their clients.
15
     65.     DEFENDANT WILLIAM ALSUP in his ivory pedagogy does not know from his bench the
16

17   realities of people, and life in the year 2023.

18   66.     DEFENDANT WILLIAM ALSUP was gracious in his conduct at trial as though a king from

19   his throne is gracious to peasants temporarily.
20
     67.     DEFENDANT WILLIAM ALSUP may claim he has helped some Malaysian woman on a
21
     flight, and/or DACA minors. DEFENDANT WILLIAM ALSUP first of all does not know Asian
22
     people much – he has barely interacted with Asians, does not know Asian culture, differences
23
     amongst and between them, cannot read them in the courtroom.
24

25   68.     Whereas for DACA, DEFENDANT WILLIAM ALSUP is just promoting more illegal

26   immigrants who’re leaching off of hard-working Americans’ tax-payer dollars and getting paid in
27   cash.
28


                                                         11
     69.    DEFENDANT WILLIAM ALSUP has Hindu phobia, and festers anti-Indian sentiments. This
1

2    was harbored towards PLAINTFF RESHMA KAMATH in DEFENDANT WILLIAM ALSUP’s

3    speech, conduct, and decisions.
4    70.    How is it possible an eight-person diverse jury rules in one way, and DEFENDANT
5
     WILLIAM ALSUP sitting on his throne-like bench has a completely different read on the situation.
6
     DEFENDANT WILLIAM ALSUP even falsified what was on the court docket at the end of trial
7
     saying there was a “motion for sanctions” when he white, female clerk, and a white, female lawyer
8

9
     from the opposing side stood before him.

10   71.    Even when several of the above incidents did not occur in the presence of the jury and have

11   no basis on the substantive decision of the trial – except when PLAINTIFF RESHMA KAMATH
12
     was felt up [ it was away from the jury, there was a wall behind plaintiff that a video can prove with
13
     the CAMERA PROJECT ], DEFENDANT WILLIAM ALSUP is responsible for any and all of the
14
     actions, conduct and omissions that occur in his courtroom.
15
     72.    There is an unspoken rule in California courts that is prevalent – when immigrant, non-White
16

17   women are placed against White, and/or Male attorney, the judicial officers almost always favor the

18   White and/or Male attorney.

19   73.    The White Female is the most coddled attorney for what it is worth getting a carte blanche [
20
     no pun intended ] of tabula rasa decisions from judges such as DEFENDANT WILLIAM ALSUP.
21
     Other judicial officers who have displayed such racial and misogynistic abuse in favor of WHITE
22
     LAWYERS, include but are not limited to Judge Jeffrey White, and Judge Yvonne Gonzalez Rogers
23
     [ who is married to a Caucasian/White individual].
24

25   DEFENDANT THOMAS HIXSON

26   74.    In 2022, DEFENDANT THOMAS HIXSON made a grave error via his white female clerk,
27   ROSE MAHER. While he had informed parties telephonically that the mandatory settlement
28
     conference in 2023 would be held in-person, his white female clerk repeatedly on the court-docket

                                                       12
     and via electronic-mail notified counsel, including Plaintiff RESHMA KAMATH that the mandatory
1

2    settlement conference in 2023 would be held remotely.

3    75.    In 2023, DEFENDANT THOMAS HIXSON on his webpage stated that mandatory settlement
4    conference would all be held remotely. Nothing about that announcement on the webpage of
5
     DEFENDANT HIXSON had changed.
6
     76.    In 2023, DEFENDANT THOMAS HIXSON never apologized for his white, female clerk’s
7
     grave error both on the court docket, and via e-mail.
8

9
     77.    When Plaintiff RESHMA KAMATH contacted the white female clerk, ROSE MAHER about

10   sending the ZOOM appearance link, there was no response.

11   78.    Apparently, only a court-docket filing was made half a day prior about the mandatory
12
     settlement conference to be held in Courtroom E.
13
     79.    Because of Plaintiff RESHMA KAMATH’s setting on the ECF.CAND profile, that only
14
     court-docket filing was received the next day at 12:01 p.m. PT, i.e., the same day of the the
15
     mandatory settlement conference.
16

17   80.    In 2023, during a settlement conference, DEFENDANT THOMAS HIXSON oggled at the

18   breasts of RESHMA KAMATH.

19   81.    In 2023, during a settlement conference, DEFENDANT THOMAS HIXSON had a bruised
20
     ego when RESHMA KAMATH continued to speak to her client, about the state case that ran
21
     concurrently with the federal case.
22
     82.    DEFENDANT THOMAS HIXSON had insinuated comments of “slut” to PLAINTIFF
23
     RESHMA KAMATH.
24

25   83.    DEFENDANT THOMAS HIXSON was hell bent on settling the case, and forcing to settle

26   the case even when he didn’t want to.
27   84.    The bro-code of THOMAS HIXSON/JAMES LI was clearly visible.
28


                                                        13
     85.    DEFENDANT THOMAS HIXSON even made comments that PLAINTIFF RESHMA
1

2    KAMATH was “sleeping” with and were lovers with her client. This includes communications with

3    JUDGE ALSUP.
4    86.    DEFENDANT THOMAS HIXSON along with DEFENDANT WILLIAM ALSUP, and his
5
     courtroom clerk, ANGIE, laughingly made comments that PLAINTIFF RESHMA KAMATH should
6
     become a political representative rather than practicing law. DEFENDANT ALSUP also told her to
7
     “study” even when PLAINTIFF RESHMA KAMATH’s forty-eight [48] page MOTION caused
8

9
     DEFENDANT ALSUP to award over a million dollars in attorneys’ fees to DEFENDANT DYLAN

10   WISEMAN for his two-page [2-page] motion.

11   87.    PLAINTIFF RESHMA KAMATH has no intentions to pursue any kind of political office
12
     anywhere. PLAINTIFF RESHMA KAMATH is only an attorney.
13
     DEFENDANT JAMES LI
14
     89.    DEFENDANT JAMES LI made perjurious and defamatory comments to the court both about
15
     his COVID-19 condition, as well as about Plaintiff RESHMA KAMATH.
16

17   DEFENDANT JAMES LI was an opposing attorney who had filed a falsified federal trade secrets

18   case against the clients of RESHMA KAMATH.

19   90.    An eight-person jury comprised of three African-American jury members, and seven women
20
     jurors saw through his façade while making an evidentiary decision about the case.
21
     91.    During the case, DEFENDANT JAMES LI started making perjurious comments about
22
     RESHMA KAMATH. Litigation privilege does not protect perjury.
23
     92.    There was even comments between DEFENDANT JAMES LI, and his staff, whether she is
24

25   “expecting.”

26   DEFENDANT DYLAN WISEMAN
27   93.    Defendant Dylan Wiseman had made several derogatory remarks to RESHMA KAMATH in
28
     the year 2021.

                                                      14
     94.       Then, in 2023, with no contact about the case, DEFENDANT DYLAN WISEMAN with a
1

2    one-and-half page motion leached off of a motion for attorneys’ fees that was non-compliant with the

3    DTSA code, and/or any case law.
4    DEFENDANT BUCHALTER APC
5
     95.       Defendant BUCHALTER APC is where DEFENDANT DYLAN worked, and is believed to
6
     be working.
7
     96.       Defendant BUCHALTER APC is liable based on DEFENDANT DYLAN’s tort and
8

9
     contractual conduct.

10                                           JURISDICTION & VENUE

11   97.       This Court has jurisdiction over this action because the matter in controversy exceeds
12
     Seventy-Five Thousand Dollars ($75,000.00), exclusive of costs and interest, and that diversity exists
13
     because Plaintiff resides in the County of Mohave, State of Arizona. Jurisdiction over Defendants is
14
     proper.
15
     98.       Venue is proper in this Judicial District, because the events giving rise to the claims in
16

17   Arizona in the County of Mohave made herein occurred in this Judicial District. The predicate acts

18   complained of herein did occur within the territorial boundaries of this court, and the corpus of the

19   complaint centers on state law questions. Thus, jurisdiction is proper in this court.
20
                                               CLAIMS FOR RELIEF
21
                                              1. INJUNCTIVE RELIEF;
22
                              [AGAINST DEFENDANTS ALSUP, LI AND HIXSON]
23
     99.       PLAINTIFF RESHMA KAMATH hereby pleads, complains, alleges and incorporates via
24

25   reference each and every allegation stated in the preceding paragraphs as if set forth fully herein.

26   100.      DEFENDANT WILLIAM ALSUP is contemplating JAIL time and increasing the frivolous
27   sanctions based on DEFENDANT THOMAS HIXSON’s racial and misogynistic abuse. That sanction
28
     went from a “potential $100” to over “$5,000” based on DEFENDANT LI’s perjury, and now is at the

                                                           15
     point of hundreds of thousands of dollars with DEFENDANT ALSUP contemplating a search and
1

2    seizure warrant with immediate JAIL TIME.

3    101.   DEFENDANT THOMAS HIXSON even made comments that PLAINTIFF RESHMA
4    KAMATH was “sleeping” with and were lovers with her client. This includes communications with
5
     JUDGE ALSUP.
6
     102.   This is not just part of a case in California. DEFENDANT WILLIAM ALSUP is now
7
     contemplating jail time for Plaintiff KAMATH, and placing her on a no-fly zone. DEFENDANT
8

9
     WILLIAM ALSUP is contemplating GARNISHING WAGES of an ATTORNEY based on

10   DEFENDANT WILLIAM ALSUP’s RACIAL and GENDER ABUSE.

11   103.   The ARIZONA court has jurisdiction, because such actions occurred to an ARIZONIAN
12
     resident, while residing in ARIZONA.
13
     104.   Injunctive relief is afforded, because otherwise there will be IRREPARABLE HARM to
14
     PLAINTIFF RESHMA KAMATH, and such increasing sanctions/JAIL TIME/NO-FLY ZONE will
15
     be detrimental to imminent and immediate relief.
16

17   105.   There is a likelihood of success on the merits, because each DEFENDANT ALSUP and

18   DEFENDANT HIXSON is a state actor to whom the 42 U.S.C. section 1983 relief applies as to

19   PLAINTIFF RESHMA KAMATH.
20
     106.   There is a public policy not to have judicial officers abuse their judicial authority and discretion
21
     exceeding any and all scope of judicial authority, and shocking the conscience.
22
     107.   Thus, PLAINTIFF RESHMA KAMATH seeks injunctive relief against the actions, and/or
23
     omissions of DEFENDANT WILLIAM ALSUP.
24

25   ///

26   ///
27   ///
28
     ///

                                                        16
                                          2. DEFAMATION – SLANDER
1

2                                 [AGAINST ANY AND ALL DEFENDANTS]

3    108.    PLAINTIFF RESHMA KAMATH hereby pleads, complains, alleges and incorporates via
4    reference each and every allegation stated in the preceding paragraphs as if set forth fully herein.
5
     109.    DEFENDANT WILLIAM ALSUP had made comments about PLAINTIFF RESHMA
6
     KAMATH such as “fat” “kid” “jealous” “unprofessional” “young” with no basis, inter alia.
7
     110.    DEFENDANT WILLIAM ALSUP is a state actor working in the federal court under ARTICLE
8

9
     III standing. DEFENDANT WILLIAM ALSUP does not have absolute judicial immunity for acts

10   outside ministerial duties as a judicial officer.

11   111.    This is not just part of a case in California. DEFENDANT WILLIAM ALSUP is now
12
     contemplating jail time for Plaintiff KAMATH, and placing her on a no-fly zone. DEFENDANT
13
     WILLIAM ALSUP is contemplating GARNISHING WAGES of an ATTORNEY based on
14
     DEFENDANT WILLIAM ALSUP’s RACIAL and GENDER ABUSE.
15
     112.    DEFENDANT THOMAS HIXSON had insinuated comments of “slut” about PLAINTIFF
16

17   RESHMA KAMATH.

18   113.    DEFENDANT THOMAS HIXSON even made comments that PLAINTIFF RESHMA

19   KAMATH was “sleeping” with and were lovers with her client. This includes communications with
20
     JUDGE ALSUP.
21
     114.    DEFENDANT THOMAS HIXSON is a state actor working in the federal court under
22
     ARTICLE III standing.
23
     115.    DEFENDANT THOMAS HIXSON does not have absolute judicial immunity for acts outside
24

25   ministerial duties as a judicial officer.

26   116.    DEFENDANT THOMAS HIXSON along with DEFENDANT WILLIAM ALSUP, and his
27   courtroom clerk, ANGIE, laughingly made comments that PLAINTIFF RESHMA KAMATH should
28
     become a political representative rather than practicing law. DEFENDANT ALSUP also told her to

                                                         17
     “study” even when PLAINTIFF RESHMA KAMATH’s forty-eight [48] page MOTION caused
1

2    DEFENDANT ALSUP to award over a million dollars in attorneys’ fees to DEFENDANT DYLAN

3    WISEMAN for his two-page [2-page] motion.
4    117.    After PLAINTIFF RESHMA KAMATH won the case on the merits, DEFENDANT
5
     WILLIAM ALSUP and his staff, including his clerk, ANGIE, have made falsified comments that
6
     insinuate PLAINTIFF RESHMA KAMATH has used deceit and fraud in the court in the pursuit of the
7
     case.
8

9
     118.    After PLAINTIFF RESHMA KAMATH won the case on the merits, DEFENDANT JAMES

10   LI and his staff have made falsified comments that insinuate PLAINTIFF RESHMA KAMATH has

11   used deceit and fraud in the court in the pursuit of the case.
12
     Each publication and repetition of the defamatory and slanderous comments are a single act of
13
     defamation.
14
     119.    DEFENDANT WILLIAM ALSUP, DEFENDANT JAMES LI, and DEFENDANT THOMAS
15
     HIXSON must each pay monetary damages to PLAINTIFF RESHMA KAMATH for damages in the
16

17   amount exceeding seventy-five thousand dollars [ $75,000 ], specifically, $1.50 million dollars.

18

19                   3. RACIAL DISCRIMINATION UNDER 42 U.S.C. SECTION 1983;
20
                                 [AGAINST ANY AND ALL DEFENDANTS]
21
     120.    PLAINTIFF RESHMA KAMATH hereby pleads, complains, alleges and incorporates via
22
     reference each and every allegation stated in the preceding paragraphs as if set forth fully herein.
23
     121.    Defendant WILLIAM ALSUP made comments about “India” when nothing on the docket,
24

25   and/or anything on and off the record had any references to “India.”

26   122.    The case had no references to “India,” and DEFENDANT WILLIAM ALSUP’s comment was
27   only intended to be a racial/ethnic/cultural/religious and demeaning comment to PLAINTIFF
28
     RESHMA KAMATH.

                                                         18
     123.   Defendant WILLIAM ALSUP allowed the assault and abuse of PLAINTIFF RESHMA
1

2    KAMATH in his courtroom during the trial. After PLAINTIFF RESHMA KAMATH had WON her

3    first JURY TRIAL, Defendant WILLIAM ALSUP called PLAINTIFF “unprofessional” inter alia, [
4    based on opposing attorney, DEFENDANT JAMES’ defamatory statements ] whereas DEFENDANT
5
     ALSUP called a white, female attorney who barely did any work at trial during the final pre-trial
6
     conference “a good attorney.”
7
     124.   PLAINTIFF RESHMA KAMATH did not allow any of the above-stated incidents to affect the
8

9
     substantive merits of her clients’ case, because RESHMA KAMATH is a professional who is above

10   and beyond the pettiness of white, male homogeneity in this country.

11   125.   Defendant WILLIAM ALSUP is a state actor working in the federal court under ARTICLE III
12
     standing. DEFENDANT WILLIAM ALSUP is now contemplating jail time for Plaintiff KAMATH,
13
     and placing her on a no-fly zone. DEFENDANT WILLIAM ALSUP is contemplating GARNISHING
14
     WAGES of an ATTORNEY based on DEFENDANT WILLIAM ALSUP’s RACIAL and GENDER
15
     ABUSE.
16

17   126. Defendant WILLIAM ALSUP does not have absolute judicial immunity for acts outside

18   ministerial duties as a judicial officer. DEFENDANT WILLIAM ALSUP made comments

19   differentiating between a white, female attorney, while calling PLAINTIFF “unprofessional” inter alia.
20
     Defendant WILLIAM ALSUP’s discrimination in preventing generational wealth and awardation of
21
     wealth to immigrant, sole proprietor, PLAINTIFF RESHMA KAMATH stems from Defendant
22
     WILLIAM ALSUP’s anti-INDIA, HINDU PHOBIA, and anti-INDIAN women. Particularly,
23
     PLAINTIFF RESHMA KAMATH, who is a non-beef-eating, SOUTH INDIAN immigrant woman,
24

25   speaking more than five languages, who is the only counsel in her law firm, and according to White

26   America, Hindu individuals maybe seen as poly-theistic [even when it is mono-theistic ]. Defendant
27   WILLIAM ALSUP has not grown up around any Indians, and/or cannot boast of close
28


                                                      19
     friendships/professional relationships/teachers growing up in high-school/college with Indians, at least
1

2    not with competent Indian women.

3    127.    Defendant WILLIAM ALSUP’s discrimination based on awarding attorneys’ fees based on the
4    color of the skin, gender identity, and racial/ethnic/cultural identity; and, DEFENDANT WILLIAM
5
     ALSUP in using law as a PRE-TEXT [ even DEFENDANT ALSUP falsifying the law ] is
6
     ARBITRARY and CAPRICIOUS.
7
     128.    This is not a bygone era – racial and ethnic abuse is witnessed each and every day with
8

9
     countless victims who’re immigrants, and people with tanner/darker skin tones in the United States of

10   America.

11   129.    In 2023, during a settlement conference, DEFENDANT THOMAS HIXSON oggled at the
12
     breasts of RESHMA KAMATH.
13
     130.    In 2023, during a settlement conference, DEFENDANT THOMAS HIXSON had a bruised
14
     ego when RESHMA KAMATH continued to speak to her client, about the state case that ran
15
     concurrently with the federal case.
16

17   131.    DEFENDANT THOMAS HIXSON had insinuated comments of “slut” about PLAINTIFF

18   RESHMA KAMATH.

19   132.    DEFENDANT THOMAS HIXSON even made comments that PLAINTIFF RESHMA
20
     KAMATH was “sleeping” with and were lovers with her client. This includes communications with
21
     JUDGE ALSUP.
22
     133.    DEFENDANT THOMAS HIXSON is a state actor working in the federal court under
23
     ARTICLE III standing.
24

25   134.    DEFENDANT THOMAS HIXSON does not have absolute judicial immunity for acts outside

26   ministerial duties as a judicial officer.
27

28


                                                       20
     135.    DEFENDANT WILLIAM ALSUP, DEFENDANT THOMAS HIXSON and DEFENDANT
1

2    JAMES LI must each pay monetary damages to PLAINTIFF RESHMA KAMATH for damages in the

3    amount exceeding seventy-five thousand dollars [ $75,000 ], specifically, $1.50 million dollars.
4

5
                     4. GENDER DISCRIMINATION UNDER 42 U.S.C. SECTION 1983;
6
     136.    PLAINTIFF RESHMA KAMATH hereby pleads, complains, alleges and incorporates via
7
     reference each and every allegation stated in the preceding paragraphs as if set forth fully herein.
8

9
     137.    Defendant WILLIAM ALSUP made comments about “India” when nothing on the docket,

10   and/or anything on and off the record had any references to “India.”

11   138.    The case had no references to “India,” and DEFENDANT WILLIAM ALSUP’s comment was
12
     only intended to be a racial/ethnic/cultural/religious and demeaning comment to PLAINTIFF
13
     RESHMA KAMATH.
14
     139.    Defendant WILLIAM ALSUP allowed the assault and abuse of PLAINTIFF RESHMA
15
     KAMATH in his courtroom during the trial.
16

17   140.    Defendant WILLIAM ALSUP is a state actor working in the federal court under ARTICLE III

18   standing.

19   141.    Defendant WILLIAM ALSUP does not have absolute judicial immunity for acts outside
20
     ministerial duties as a judicial officer.
21
     142.    In 2023, during a settlement conference, DEFENDANT THOMAS HIXSON oggled at the
22
     breasts of RESHMA KAMATH.
23
     143.    In 2023, during a settlement conference, DEFENDANT THOMAS HIXSON had a bruised
24

25   ego when RESHMA KAMATH continued to speak to her client about the state case that ran

26   concurrently with the federal case.
27   144.    DEFENDANT THOMAS HIXSON had insinuated comments of “slut” to PLAINTIFF
28
     RESHMA KAMATH.

                                                        21
     145.    DEFENDANT THOMAS HIXSON even made comments that PLAINTIFF RESHMA
1

2    KAMATH was “sleeping” with and were lovers with her client. This includes communications with

3    JUDGE ALSUP.
4    146.    DEFENDANT THOMAS HIXSON is a state actor working in the federal court under
5
     ARTICLE III standing.
6
     147.    DEFENDANT THOMAS HIXSON does not have absolute judicial immunity for acts outside
7
     ministerial duties as a judicial officer.
8

9
     148.    DEFENDANTS HIXSON and LI look so innocent, and where PLAINTIFF RESHMA

10   KAMATH can see through the façade of DEFENDANT LI -because PLAINTIFF RESHMA

11   KAMATH has lived in the presence of so many Asian people particularly Chinese people, it is quite
12
     difficult to read DEFENDANT HIXSON in his racial and gender abuse.
13
     149.    DEFENDANT WILLIAM ALSUP and DEFENDANT THOMAS HIXSON must each pay
14
     monetary damages to PLAINTIFF RESHMA KAMATH for damages in the amount exceeding
15
     seventy-five thousand dollars [ $75,000 ], specifically, $1.50 million dollars.
16

17

18                                         5. DECLARATORY RELIEF;

19                                [AGAINST ANY AND ALL DEFENDANTS]
20
     150.    PLAINTIFF RESHMA KAMATH hereby pleads, complains, alleges and incorporates via
21
     reference each and every allegation stated in the preceding paragraphs as if set forth fully herein.
22
     151.    PLAINTIFF RESHMA KAMATH has STANDING to pursue the DECLARATORY RELIEF
23
     claim against each and every DEFENDANT in this case.
24

25   152.    PLAINTIFF RESHMA KAMATH alleges this case is RIPE and JUSTICIABLE.

26   153.    PLAINTIFF RESHMA KAMATH has rights and remedies under the UNITED STATES
27   CONSTITUTION as an individual and as a woman that are and/or will be harmed as a result of
28
     DEFENDANT ALSUP, HIXSON, and JAMES’ conduct.

                                                        22
     154.   PLAINTIFF RESHMA KAMATH requests this neutral Honorable Court to declare her rights
1

2    and remedies as to the DEFENDANTS.

3

4                                          6. DEFAMATION – LIBEL;
5
                                 [AGAINST ANY AND ALL DEFENDANTS]
6
     155.   PLAINTIFF RESHMA KAMATH hereby pleads, complains, alleges and incorporates via
7
     reference each and every allegation stated in the preceding paragraphs as if set forth fully herein.
8

9
     156.   DEFENDANT JAMES made several perjurious and defamatory comments about PLAINTIFF

10   RESHMA KAMATH in writing that were memorialized in permanency upon his writing.

11   157.   DEFENDANT JAMES’ comments have had and continue to have IRREPARABLE DAMAGE
12
     to the professional and personal reputation of PLAINTIFF RESHMA KAMATH.
13
     158.   DEFENDANT JAMES’ comments were made under oath and under penalty of perjury.
14
     159.   This caused DEFENDANT HIXSON and DEFENDANT ALSUP to act in a certain way
15
     injurious to the professional and personal reputation of PLAINTIFF RESHMA KAMATH.
16

17   160.   DEFENDANT WILLIAM ALSUP had made comments about PLAINTIFF RESHMA

18   KAMATH such as atleast “unprofessional” in writing with no basis, inter alia. However, to a white

19   female attorney who barely did any work during trial, DEFENDANT WILLIAM ALSUP had a
20
     preconceived comment about “good attorney” at the pretrial conference. Both statements are recorded
21
     permanently in writing.
22
     161.   The comments had permanency, because they are in writing.
23
     162.   Each publication and repetition of the defamatory and slanderous comments are each a single
24

25   act of defamation.

26   163.   DEFENDANT WILLIAM ALSUP and THOMAS HIXSON does not have absolute judicial
27   immunity for acts outside ministerial duties as a judicial officer.
28


                                                         23
     164.    DEFENDANT WILLIAM ALSUP, DEFENDANT THOMAS HIXSON, and DEFENDANT
1

2    JAMES LI must each pay monetary damages to PLAINTIFF RESHMA KAMATH for damages in the

3    amount exceeding seventy-five thousand dollars [ $75,000 ], specifically, $1.50 million dollars.
4

5
                                           PRAYER FOR RELIEF
6
     I.      That the HONORABLE COURT award INJUNCTIVE RELIEF immediately in any and all
7
     temporary and permanent injunctive relief against DEFENDANTS ALSUP, HIXSON, and LI;
8

9
     II.     That the HONORABLE COURT award DECLARATORY RELIEF in the rights and

10   remedies of PLAINTIFF RESHMA KAMATH;

11   III.    That the HONORABLE COURT award damages in the amount of $1.50 million in damages
12
     for EACH AND EVERY CAUSE OF ACTION individually against each DEFENDANT [according
13
     to proof at trial];
14
     IV.     That the HONORABLE COURT award ACTUAL, GENERAL, SPECIAL, PROXIMATE,
15
     CONSEQUENTIAL, and EXPECTANCY damages in the amount of $1.50 million in damages for
16

17   EACH AND EVERY CAUSE OF ACTION individually against each DEFENDANT [according to

18   proof at trial];

19   V.      That the HONORABLE COURT award TREBLE and PUNITIVE damages in the amount of
20
     $1.50 million in damages for EACH AND EVERY CAUSE OF ACTION individually against each
21
     DEFENDANT [according to proof at trial];
22
     VI.     That the HONORABLE COURT award REASONABLE ATTORNEYS’ FEES AND
23
     COSTS;
24

25   VII.    That the HONORABLE COURT award PRE- AND POST-JUDGMENT INTEREST,

26   HEREIN; and,
27   VIII.   That the HONORABLE COURT grant the DEMAND FOR JURY TRIAL on EACH AND
28
     EVERY CAUSE OF ACTION;

                                                      24
1

2
     DATED: SEPTEMBER 24, 2023        /S/ Reshma Kamath
                                      RESHMA KAMATH
                                      PLAINTIFF, IN PROPRIA PERSONA
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